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                        Exhibit A
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Google LLC                                                                                   USLawEnforcement@google.com
1600 Amphitheatre Parkway
Mountain View, California 94043                                                                            www.google.com




                                                         06/20/19

            AUSA Michael Marando
            USAO
            555 4th Street NW, Room 4235
            Washington, DC 20530

                     Re: 2703(d) Order or Equivalent dated June 07, 2019 (Google Ref. No. 2568092)
                         SC No. 19-1208, 1:19-sc-01208-RMM


            Dear AUSA Marando:

                     Pursuant to the 2703(d) Order or Equivalent issued in the above-referenced matter, we
            have conducted a diligent search for documents and information accessible on Google’s systems
            that are responsive to your request. Our response is made in accordance with state and federal
            law, including the Electronic Communications Privacy Act. See 18 U.S.C. § 2701 et seq.

                     Accompanying this letter is responsive information to the extent reasonably accessible
            from our system associated with the YouTube video(s), r6-qW_PzGEA, x7UvbETwpwU,
            OPkRMIEv3-I, MQM1_tDk2h8, HfrzKmeXsrI, 6gM_cyROnto, x7uvbETwpwU, as specified in the
            2703(d) Order or Equivalent. We have also included a signed Certificate of Authenticity which
            includes a list of hash values that correspond to each file contained in the production. Google may
            not retain a copy of this production but does endeavor to keep a list of the files and their
            respective hash values. To the extent any document provided herein contains information
            exceeding the scope of your request, protected from disclosure or otherwise not subject to
            production, if at all, we have redacted such information or removed such data fields.

                    Regarding your attached legal request, after a diligent search and reasonable inquiry, we
            have found no records for any YouTube video file(s) identified as HXXwf-9otzU, as specified in
            your request. Therefore, we do not have documents responsive to your request.

                   Please note that Google Pay service data is under the control of Google Payment
            Corporation. Any request for such data must be specifically addressed to Google Payment
            Corporation and can be served through the email address googlepayments@google.com.

                   Finally, in accordance with Section 2706 of the Electronic Communications Privacy Act,
            Google may request reimbursement for reasonable costs incurred in processing your request.

                                                             Regards,

                                                             Christina Phillip
                                                             Google Legal Investigations Support
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Mountain View, California 94043                                                                                www.google.com




                                              CERTIFICATE OF AUTHENTICITY

            I hereby certify:

            1.      I am employed by Google LLC ("Google"), located in Mountain View, California. I am
            authorized to submit this affidavit on behalf of Google. I have personal knowledge of the
            following facts, except as noted, and could testify competently thereto if called as a witness.

            2.      I am qualified to authenticate the records because I am familiar with how the records
            were created, managed, stored and retrieved.

            3.       Google provides Internet-based services.

            4.       Attached is a true and correct copy of records pertaining to the Google account-holder(s)
            identified with account(s) r6-qW_PzGEA, x7UvbETwpwU, OPkRMIEv3-I, MQM1_tDk2h8,
            HfrzKmeXsrI, 6gM_cyROnto, x7uvbETwpwU, with Google Ref. No. 2568092 (“Document”).
            Accompanying this Certificate of Authenticity as Attachment A is a list of hash values
            corresponding to each file produced in response to the 2703(d) Order or Equivalent.

            5.       The Document is a record made and retained by Google. Google servers record this data
            automatically at the time, or reasonably soon after, it is entered or transmitted by the user, and this
            data is kept in the course of this regularly conducted activity and was made by regularly
            conducted activity as a regular practice of Google.

            6.      The Document is a true duplicate of original records that were generated by Google’s
            electronic process or system that produces an accurate result. The accuracy of Google’s
            electronic process and system is regularly verified by Google.

            7.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
            and correct to the best of my knowledge.




            ___/s_Christina Phillip_______                      Date: 06/20/19
            (Signature of Records Custodian)


                Christina Phillip
            (Name of Records Custodian)
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                      Attachment A: Hash Values for Production Files (Google Ref. No. 2568092)

            6gM_cyROnto.YoutubeMetaData.html:

            MD5- 322e0eb5140719ec32fcf81a9185076a
            SHA512-
            215286e8054b602c4145e6ee2f44a8ce568f7b0b3a1051b1e6c50453c77c1551529a97a45acb50da0
            a9b8e97bba2cdfef01c78138f6d0a43d8900511717794b8

            HfrzKmeXsrI.YoutubeMetaData.html:

            MD5- 73389d06eb4650be35b0e549ac0976dd
            SHA512-
            3d267d7a2abc85af601ba6295b10c119c0b45193d5cbc7c68def114c005119a9d907ae0f7697875cf
            bb6be93d0194ba15ba19cb028c95069551b9c0d223ad628

            MQM1_tDk2h8.YoutubeMetaData.html:

            MD5- 88582d64ed6532f1c5df87ba264484f6
            SHA512-
            1894ca5ad312dab7f6fd816f46d264f31d42f0c271f9f17cf5c869607da90a435404728f062a1cd8e3
            5425200f536b8338b1c29e9577abfa62bb0fe6279c0435

            OPkRMIEv3-I.YoutubeMetaData.html:

            MD5- 60f7e0a9a5d233b52a6903ce4d020fa4
            SHA512-
            21a41e4f89345c91719335d6492c7f94a2208792aee25760d6682a0bfffc365c68498f2940d1a67a75
            692c7a2178c0831365a86a3e3dc2ef262030a1fe155258

            r6-qW_PzGEA.YoutubeMetaData.html:

            MD5- 9cdf362ea86be446a382dc9b82fe9ad5
            SHA512-
            b42982c8b4af6e132eafc752cff7bb285febb0c477053ec708986cd5835c31934d1dff965abc2d2208
            87c42575661db3e76df91dd23b82c4cdd9d939e17e8f16

            x7UvbETwpwU.YoutubeMetaData.html:

            MD5- b53375554d389dd1aab7c645c4a8cfb5
            SHA512-
            9004cae37b1b03ed8cda06c055e5c5f6709816e75abea092a7f190b5ff64dd5e3ab6cb6a0a4d826fec
            556660d1dce012c303a9ba6ed0602f510099d4beb6685c
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                                       Google Confidential & Proprietary


Video Data
         Time Created          Encrypted ID
August 11, 2016 at 3:10 AM UTC 6gM_cyROnto
                                       Google Confidential & Proprietary
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                                       Google Confidential & Proprietary


Video Data
         Time Created           Encrypted ID
August 16, 2016 at 10:44 PM UTC HfrzKmeXsrI
                                       Google Confidential & Proprietary
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                                      Google Confidential & Proprietary


Video Data
        Time Created          Encrypted ID
August 5, 2016 at 5:23 AM UTC MQM1_tDk2h8
                                      Google Confidential & Proprietary
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                                       Google Confidential & Proprietary


Video Data
         Time Created           Encrypted ID
August 13, 2016 at 10:50 AM UTC OPkRMIEv3-I
                                       Google Confidential & Proprietary
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                                      Google Confidential & Proprietary


Video Data
         Time Created          Encrypted ID
August 10, 2016 at 2:15 AM UTC r6-qW_PzGEA
                                      Google Confidential & Proprietary
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                                       Google Confidential & Proprietary


Video Data
        Time Created         Encrypted ID
July 5, 2016 at 8:50 AM UTC x7UvbETwpwU
                                       Google Confidential & Proprietary
